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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

LAMONTE MCINTYRE and                              )
ROSE LEE MCINTYRE,                                )
               Plaintiffs,                        )
                                                  )
       Vs.                                        )           Case No. 18-2545-KHV
                                                  )
UNIFIED GOVERNMENT OF                             )
WYANDOTTE COUNTY AND                              )
KANSAS CITY, KANSAS, et al.                       )



     MOTION OF THE MIDWEST INNOCENCE PROJECT TO INTERVENE FOR A

                                     LIMITED PURPOSE

       Movant the Midwest Innocence Project, a nonprofit dedicated to correcting wrongful

convictions within its region and changing the system to prevent such convictions in the first

place (hereinafter “MIP”), hereby moves this Court for an order permitting it to intervene in this

action for the limited purpose of filing and arguing its motions to vacate the order to seal entered

on May 11, 2022 (Doc. 644) and to modify the protective order entered on November 8, 2019

(Doc. 124).

       Pursuant to D. Kan. R. 7.1(a), MIP has filed, contemporaneously herewith, a separate

memorandum supporting its motion.

                                              Respectfully submitted,
                                              /s/Jean K. Gilles Phillips
                                              Jean K. Gilles Phillips, #14540
                                              Project for Innocence
                                                      and Post Conviction Remedies
                                              1535 W. 15th, Room 409
                                              University of Kansas School of Law
                                              Lawrence, Kansas 66045
                                              Telephone: (785) 864-5571
                                              FAX: (785) 864-5054
                                              Email: phillips@ku.edu
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                                     Tricia J. Rojo Bushnell*
                                     Tricia J. Rojo Bushnell, Missouri Bar #66818
                                     MIDWEST INNOCENCE PROJECT
                                     3619 Broadway Blvd., #2
                                     Kansas City, MO 64111
                                     Phone: (816) 221-2166
                                     trojobushnell@themip.org
                                     Counsel for Midwest Innocence Project
                                     * Pending admission pro hac vice



                               CERTIFICATE OF SERVICE


I hereby certify that on this 26th day of August, 2022, I submitted the above and foregoing
motion to the Clerk of the Court for filing through the CM/ECF System, which will provide
service to all counsel of record.


                                            /s/Jean K. Gilles Phillips
                                            Jean K. Gilles Phillips, #14540
